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1                                                                      Judge Martinez
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7
                              UNITED STATES DISTRICT COURT
8                            WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
9
     UNITED STATES OF AMERICA,                   )
10                                               )      NO. CR060-127RSM
                           Plaintiff,            )
11                                               )
             v.                                  )      SECOND ORDER
12                                               )      CONTINUING TRIAL DATE
     JOSHUA S. MACKE and                         )
13   JAMIE L. MACKE,                             )
                                                 )
14                         Defendants.           )
                                                 )
15
             This matter having come before the undersigned Court by stipulation and motion
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     of counsel, the United States through the United States Attorney for the Western District
17
     of Washington, Susan M. Roe, Assistant United States Attorney for said district, and
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     Joshua Macke by and through his attorney David Gehrke and Jamie Macke by and
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     through her attorney Stewart Riley, the Court being fully advised in the matter, now finds
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     that;
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             The trial was scheduled for September 11, 2006. The motion is made because
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     there is a strong possibility that the matter will resolve short of trial as to both defendants,
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     however, the schedules of counsel has delayed the resolution.
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             All counsel have been diligent in addressing this matter, however resolution of this
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     matter is affected by a continuing investigation into many other targets. The complicated
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     facts of the investigation and of other targets delay determination of the parameters of
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     these defendants’ culpability. Further investigation may tend to exculpate one of these
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     SECOND ORDER CONTINUING TRIAL DATE                                              UNITED STATES ATTORNEY
                                                                                      700 Stewart Street, Suite 5220
     MACKE/CR06-127 - 1
                                                                                     Seattle, Washington 98101-1271
                                                                                              (206) 553-7970
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1    defendants and both defendants stand to benefit by further investigation. After more
2    investigation, the attorneys may need additional time for discussion and additional
3    necessary attorney-counsel discussion. None of this can be accomplished satisfactorily
4    prior to trial.
5            All parties believe that with the continuance, this matter will be handled other than
6    with a trial and that the continuance may be to the defendants’ benefit.
7            The Court is aware that time limitations for trial and speedy trial concerns are set
8    forth in Title 18, United States Code, Section 3161.
9            Section 3161(h) outlines the periods of excludable time, including:
10                     (8)(A) Any period of delay resulting from a continuance
                       granted by any judge on his own motion or at the request of
11                     the defendant or his counsel or at the request of the attorney
                       for the Government, if the judge granted such continuance on
12                     the basis of his findings that the ends of justice served by
                       taking such action outweigh the best interest of the public and
13                     the defendant in a speedy trial. No such period of delay
                       resulting from a continuance granted by the court in
14                     accordance with this paragraph shall be excludable under this
                       subsection unless the court sets forth, in the record of the
15                     case, either orally or in writing, its reasons for finding that the
                       ends of justice served by the granting of such continuance
16                     outweigh the best interests of the public and the defendant in
                       a speedy trial.
17   //
18   //
19   //
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

     SECOND ORDER CONTINUING TRIAL DATE                                                 UNITED STATES ATTORNEY
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                                                                                        Seattle, Washington 98101-1271
                                                                                                 (206) 553-7970
             Case 2:06-cr-00127-RSM        Document 22       Filed 09/08/06    Page 3 of 3



1            In this matter, the Court finds that further time is reasonable and necessary as the
2    requested time is within the speedy trial time period. Further, that the ends of justice,
3    especially those which deal with consideration of victims and witnesses, are served by the
4    requested continuance as this Title 21 trial has few civilian witnesses and no known
5    victims. Therefore, the trial date is continued from September 11, 2006 until October 23,
6    2006.
7            Dated this 8th day of September, 2006.
8

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10
                                                        A
                                                        RICARDO S. MARTINEZ
                                                        UNITED STATES DISTRICT JUDGE
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12
     Presented by:
13

14   s/ Susan M. Roe
     SUSAN M. ROE
15   Assistant United States Attorney
     WSBN 13000
16   United States Attorney's Office
     700 Stewart Street, Suite 5220
17   Seattle, WA 98101-1271
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18   Fax: 206.553.4440
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     SECOND ORDER CONTINUING TRIAL DATE                                            UNITED STATES ATTORNEY
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     MACKE/CR06-127 - 3
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